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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            TERRE HAUTE DIVISION


RICHARD W. FELKER, THOMAS W. FELKER,               )
and GINA L. BOGDAN, individually and on            )
behalf of others similarly situated,               )
                                                   )
                               Plaintiffs,         )
                                                   )
                   v.                              )     2:05-cv-183-WGH-LJM
                                                   )
SOUTHWESTERN EMERGENCY MEDICAL                     )
SERVICE, INC.,                                     )
                                                   )
                               Defendant.          )


                   ORDER GRANTING PLAINTIFFS’
           PETITION FOR ATTORNEYS’ FEES AND EXPENSES

      This matter is before the Honorable William G. Hussmann, Jr., United

States Magistrate Judge, by consent of the parties and an Order of Reference

entered February 23, 2006, by the Honorable Larry J. McKinney, District Judge.

(Docket No. 15).

      Plaintiffs obtained a Judgment in their favor in this matter. (Docket No.

55). On September 18, 2008, plaintiffs filed a Petition for Attorneys’ Fees and

Expenses. (Docket Nos. 56-57). On September 22, 2008, defendant filed an

Objection to Plaintiffs’ Petition for Attorneys’ Fees and Expenses. (Docket No.

58). On September 23, 2008, plaintiffs filed their Brief in Support of Petition for

Attorneys’ Fees. (Docket No. 59).

      Defendant’s sole objection to Plaintiffs’ Petition for Attorneys’ Fees and

Expenses addresses whether plaintiffs’ attorney, Robert Kondras, should be
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compensated for time spent pursuing adversary claims in the defendant’s

bankruptcy case currently pending before the bankruptcy court. The work

includes research on fraudulent transfers, the drafting of a bankruptcy

adversary complaint, and research concerning creditor standing to avoid

preferences. Plaintiffs’ counsel, Robert Kondras, was appointed as special

counsel to the Trustee in this case. The defendant requests that the court

reduce the attorneys’ fees sought by a total of 13.7 hours at $250.00 per hour

because these fees are related to the bankruptcy filings, not to the issue of

whether the defendant is liable for payment of wages.

      Plaintiffs seek payment of their attorneys’ fees under 29 U.S.C. § 216(b)

and under I.C. 22-2-5-2.

      Neither the plaintiffs nor the defendant cite to any definitive statute or

case law which addresses the issue before the court. This court’s own research

did not result in finding any authority which definitively addresses this issue. In

the absence of any authority directly on point, the Magistrate Judge must

interpret the language describing payment of attorney fees under the Fair Labor

Standards Act and under the Indiana Wage Payment Act.

      Under the Fair Labor Standards Act at 29 U.S.C. § 216(b), an employer

who violates “section 206 or 207 of this title” (i.e., the payment of a minimum

wage or the failure to pay overtime for hours over the maximum) or who violates

“section 215(a)(3) of this title” (i.e., who retaliates against an employee who has

raised an issue about appropriate payment under the Act) is subject to an action




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for the payment of wages and liquidated damages. The statute goes on to

provide, in pertinent part:

      An action to recover the liability prescribed in either of the preceding
      sentences may be maintained against any employer . . . in any
      Federal or State court of competent jurisdiction by any one or more
      employees for and in behalf of himself or themselves and other
      employees similarly situated . . . . The court in such action shall, in
      addition to any judgment awarded to the plaintiff or plaintiffs, allow
      a reasonable attorney’s fee to be paid by the defendant, and costs of
      the action.

Id. (emphasis added).

      The Magistrate Judge concludes that legal research and the drafting of

pleadings within the bankruptcy court on issues of preferential transfer and

“creditor standing to avoid preferences” are actions which are not necessary to

determine “the liability” of an employer who has “violated” section 206 or 207 or

215(a)(3) of the Act; or to determine the appropriate amount of wages due.

Neither are these actions taken by Mr. Kondras a part of the “action” brought in

the district court – since they are a part of a separate “adversary proceeding”

brought under a different cause number in the bankruptcy court – a distinct

subdivision of the district court itself. A decision by the bankruptcy court on the

matters of preferences would be appealed to the district court under a separate

cause number and would involve issues distinct and separate from the issue of

the liability of the defendant for payment.

      The Magistrate Judge, therefore, concludes that the actions taken by Mr.

Kondras in the bankruptcy court are not a part of the attorneys’ fees that may be

awarded as a part of a decision by the district court that liability exists. Rather,


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these become a part of the post-judgment collection process conducted under

the supervision of the Trustee and the bankruptcy court. The hours objected to

by the defendant are not part of an award of attorneys’ fees under the FLSA.

      May such fees be awarded under the Indiana wage payment statute found

at I.C. 22-2-5-2? The language in that statute provides:

      22-2-5-2. Payment violation – Penalty and damages. – Every
      such . . . firm . . . who shall fail to make payment of wages to any
      such employee as provided in section 1 [IC 22-2-5-1] of this chapter
      shall, as liquidated damages for such failure, pay to such employee
      for each day that the amount due to him remains unpaid ten
      percent (10%) of the amount due to him in addition thereto, not
      exceeding double the amount of wages due, and said damages may
      be recovered in any court having jurisdiction of a suit to recover the
      amount due to such employee, and in any suit so brought to recover
      said wages or the liquidated damages for nonpayment thereof, or
      both, the court shall tax and assess as costs in said case a
      reasonable fee for the plaintiff’s attorney or attorneys. (Emphasis
      added.)

      The Indiana statutory language is much broader than that of the FLSA.

The statute speaks to “payment” of wages, and imposes a penalty for failure to

pay measured in days. The language suggests that attorney fees are properly

paid not only when the amount of the liability is to be determined, but also if the

wages remain “unpaid.” In such a circumstance, an attorney’s actions necessary

to bring about the actual receipt of the wages are necessary to effectuate the

purposes of the Act – the prompt payment of the wages owed. Therefore, the

Magistrate Judge concludes that the attorneys’ fees challenged by the defendant

here are within the scope of the Indiana statute because the pursuit of the

bankruptcy case was necessary to attempt to recover the actual payment of the




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wages in as prompt a manner as possible. The attorneys’ fees for time spent in

the bankruptcy court are recoverable since those actions were taken in

furtherance of obtaining “payment” of the wages.


                                   Conclusion

      The plaintiffs’ counsel’s request for payment of attorneys’ fees is

GRANTED in the total amounts of:

      1. Robert Kondras           185.45 hrs. @ $250/hr.         $46,362.50

      2. Jason Saunders          84.0 hrs. @ $150/hr.             12,600.00

      3. Robert Hunt              .20 hr @ $250/hr.                    50.00

      4. Expenses                                                     335.65

                                                      TOTAL: $59,348.15

      SO ORDERED.


Dated: October 20, 2008
                                               _______________________________
                                            s/ William G. Hussmann, Jr.
                                                WILLIAM G. HUSSMANN, JR.
                                      William G. Hussmann,    Jr.,
                                                      Magistrate   Magistrate Judge
                                                                 Judge
                                      United States District Court
                                      Southern District of Indiana




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